
Stephanie W. Anderson, Walter K. Burton, Greensboro, Cam Bordman, Charles M. Ivey, III, Charles M. Ivey, IV, Darren A. McDonough, Greensboro, Attorneys at Law, For Cheek, Emily.
J. David Stradley, Robert P. Holmes, IV, Raleigh, Leto Copeley, Durham, Attorneys at Law, For Haarhuis, Joris (Administrator), et al.
Meghan Wray Deutsch-Blanco, Attorney at Law
Cynthia L. Van Horne, Attorney at Law, Charlotte, For Burton, Sue &amp; Anderson, LLP.
John P. Barringer, Charlotte, Jeffrey B. Kuykendal, Attorneys at Law, For Universal Insurance Company.
Maynard M. Brown, Wilmington, Stephen C. Baynard, Attorneys at Law, For N.C. Association of Defense Attorneys.
Edward C. Boltz, Attorney at Law, Durham, For National Consumer Bankruptcy Rights Center, et al.
ORDER
*699The following order has been entered on the motion filed on the 18th of October 2018 by Defendant for Temporary Stay:
"Motion Dissolved by order of the Court in conference, this the 9th of May 2019."
Upon consideration of the petition filed by Defendant on the 18th of October 2018 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th of May 2019."
Upon consideration of the petition filed on the 18th of October 2018 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th of May 2019."
Davis, J. recused
